Case 2:21-cv-02235-GJS Document 27 Filed 10/27/21 Page 1 of 2 Page ID #:824



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8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION
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11   ERNESTO CALVILLO,                               No. 2:21-cv-02235-MWF-GJS
12                     Plaintiff,
13                                                   [PROPOSED]
     v.
                                                     JUDGMENT OF REMAND
14   KILOLO KIJAKAZI,
15   Acting Commissioner of Social
     Security,
16
                       Defendant.
17
18
19          The Court having approved the parties’ Stipulation to Remand for Further Proceedings

20   Pursuant to Sentence Four of 42.U.S.C. § 405(g) and for Entry of Judgment in Favor of Plaintiff

21   (“Stipulation to Remand”) lodged concurrent with the lodging of the within Judgment of Remand,
22   IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-captioned action is
23
     remanded to the Commissioner of Social Security for further proceedings consistent with the
24
     Stipulation to Remand.
25
26   DATED: October 27, 2021                     _______________________________
27                                               GAIL J. STANDISH
                                                 UNITED STATES MAGISTRATE JUDGE
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Case 2:21-cv-02235-GJS Document 27 Filed 10/27/21 Page 2 of 2 Page ID #:825



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